                                   Case 23-10732-JKS                 Doc 1       Filed 06/05/23            Page 1 of 17


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                HTG Molecular Diagnostics, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3430 E Global Loop
                                  Tucson, AZ 85706
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Pima                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       htgmolecular.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                      Case 23-10732-JKS                 Doc 1         Filed 06/05/23              Page 2 of 17
Debtor    HTG Molecular Diagnostics, Inc.                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 23-10732-JKS                       Doc 1       Filed 06/05/23              Page 3 of 17
Debtor    HTG Molecular Diagnostics, Inc.                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                            Case 23-10732-JKS               Doc 1      Filed 06/05/23           Page 4 of 17
Debtor   HTG Molecular Diagnostics, Inc.                                             Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                  Case 23-10732-JKS                   Doc 1        Filed 06/05/23             Page 5 of 17
Debtor    HTG Molecular Diagnostics, Inc.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 5, 2023
                                                  MM / DD / YYYY


                             X   /s/ Shaun McMeans                                                        Shaun McMeans
                                 Signature of authorized representative of debtor                         Printed name

                                         Senior Vice President and Chief
                                 Title   Financial Officer




18. Signature of attorney    X   /s/ Frederick B. Rosner                                                   Date June 5, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Frederick B. Rosner
                                 Printed name

                                 The Rosner Law Group, LLC
                                 Firm name

                                 824 N Market St
                                 Suite 810
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 777-1111                Email address      rosner@teamrosner.com

                                 3995 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                       District of Delaware
 In re       HTG Molecular Diagnostics, Inc.                                                              Case No.
                                                                                Debtor(s)                 Chapter     11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 001-37369 .

2. The following financial data is the latest available information and refers to the debtor's condition on            5/31/2023    .

 a. Total assets                                                                                     $                     6,693,254.00

 b. Total debts (including debts listed in 2.c., below)                                              $                     8,997,813.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                  unsecured                    subordinated                 $                         0.00                           0
 secured                  unsecured                    subordinated                 $                         0.00                           0
 secured                  unsecured                    subordinated                 $                         0.00                           0
 secured                  unsecured                    subordinated                 $                         0.00                           0
 secured                  unsecured                    subordinated                 $                         0.00                           0

 d. Number of shares of preferred stock                                                                         0                            0

 e. Number of shares common stock                                                                        2,214,233                           0
    Comments, if any:


3. Brief description of Debtor's business:
   Life science company whose mission is to advance precision medicine through its transcriptome-wide profiling technology
   and advanced medicinal chemistry technology

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com
Case 23-10732-JKS   Doc 1   Filed 06/05/23   Page 7 of 17
                               Case 23-10732-JKS                   Doc 1           Filed 06/05/23        Page 8 of 17




Fill in this information to identify the case:

Debtor name         HTG Molecular Diagnostics, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 5, 2023                    X /s/ Shaun McMeans
                                                           Signature of individual signing on behalf of debtor

                                                            Shaun McMeans
                                                            Printed name

                                                            Senior Vice President and Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                  Case 23-10732-JKS                   Doc 1         Filed 06/05/23                Page 9 of 17


 Fill in this information to identify the case:
 Debtor name HTG Molecular Diagnostics, Inc.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 BDO USA, LLP                                                                                                                                                    $44,000.00
 PO Box 677973
 Dallas, TX
 75267-7973
 Bernd Bruns                                                                                                                                                     $20,623.00
 Kurt
 Schumacher-St. 43
 Spyer 67346
 GERMANY
 Brian B Tuch                                                                                                                                                    $16,712.50
 148 Trinity Road
 Brisbane, CA 94005
 Brian McEvilly                                                                                                                                                $130,000.00
 4632 Telescope Ave
 Carlsbad, CA 92008
 Byron Lawson                                                                                                                                                  $172,500.00
 14065 N Crooked
 Creek Dr
 Marana, AZ 85658
 Charles River                                                                                                                                                 $275,306.00
 Laboratories, Inc.
 251 Ballardvale
 Street
 Wilmington, MA
 01887
 Cooley Godward                                                                                                                                                  $47,936.00
 Kronish
 3 Embarcadero
 Center
 20th Floor
 San Francisco, CA
 94111-4004
 Cordance                                                                                                                                                        $11,100.00
 Operations
 16 W Martin Streeet
 Raleigh, NC 27601



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                 Case 23-10732-JKS                   Doc 1         Filed 06/05/23                Page 10 of 17



 Debtor    HTG Molecular Diagnostics, Inc.                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Illumina, Inc.                                                                                                                                                  $57,839.96
 12864 Collection
 Center D
 Chicago, IL
 60693-0128
 In Position                                                                                                                                                     $65,124.00
 Technologies LLC
 7403 W Boston St
 Chandler, AZ 85226
 LIFESCI ADVISORS                                                                                                                                                $17,330.03
 LLC
 250 W 55th St, 34th
 Floor
 New York, NY 10019
 Maryam Rastegar                                                                                                                                                 $42,306.00
 Ludwigstraa YE 2
 Eggenstein-Leopold
 sh 76344
 GERMANY
 Movianto Nederland                                                                                                                                                $9,433.72
 B.V.
 Keltenweg 70
 OSS 5342 LP
 NETHERLANDS
 Nanosyn Inc.                                                                                                                                                    $13,209.39
 3100 Central
 Expressway
 Santa Clara, CA
 95051
 NASDAQ Corporate                                                                                                                                                $12,934.36
 Solutions
 PO Box 780700
 Philadelphia, PA
 19178-0700
 NuvoGen Research,                                                                                                                                           $3,663,438.00
 LLC
 Attn: Richard Kris
 PO Box 64326
 Tucson, AZ 85728
 Pegasus Properties                                                                                                                                              $51,769.00
 PO Box 231333
 Encinitas, CA 92023
 Roche Diagnostics                                                                                                                                               $11,863.00
 Corp.
 Mail Code 5508
 PO Box 71209
 Charlotte, NC
 28272-1209
 Selina Gaertner                                                                                                                                                 $39,332.00
 Auwaldstrasse 1
 Freiburg 7910
 GERMANY

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    HTG Molecular Diagnostics, Inc.                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 WuXi App Tec                                                                                                                                                  $226,522.00
 (HongKong) Ltd
 Unit C, 20/F
 OfficePlus @ Mong
 Kok
 No. 998 Canton Rd
 Kowloon 999077
 HONG KONG




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                               United States Bankruptcy Court
                                                          District of Delaware
 In re   HTG Molecular Diagnostics, Inc.                                                       Case No.
                                                                    Debtor(s)                  Chapter     11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Senior Vice President and Chief Financial Officer of the corporation named as the debtor in this case, hereby verify that the

attached list of creditors is true and correct to the best of my knowledge.




Date:     June 5, 2023                                  /s/ Shaun McMeans
                                                        Shaun McMeans/Senior Vice President and Chief Financial
                                                        Officer
                                                        Signer/Title
                        Case 23-10732-JKS   Doc 1
HTG MOLECULAR DIAGNOSTICS, INC. AUGUST DEBOUZY
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                                                                          BYRON LAWSON
3430 E GLOBAL LOOP              7 RUE DE TEHERAN                         14065 N CROOKED CREEK DR
TUCSON, AZ 85706                75008 PARIS                              MARANA, AZ 85658
                                FRANCE
     }
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     i
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     A
     s
     M
     a
     x




FREDERICK B. ROSNER                  BDO USA, LLP                        C-SCAN TECHNOLOGIES
THE ROSNER LAW GROUP, LLC            PO BOX 677973                       PO BOX 87239
824 N MARKET ST                      DALLAS, TX 75267-7973               PHOENIX, AZ 85080
SUITE 810
WILMINGTON, DE 19801

 SILICON VALLEY BANK                 BECKMAN COULTER INC                 CAL'S PLUMBING INC.
4730 LA JOLLA VILLAGE DR             DEPT CH 10164                       4749 S IRVING AVE
SUITE 1050                           PALATINE, IL 60055-0164             TUCSON, AZ 85714
SAN DIEGO, CA 92122


A.I.S. INDUSTRIES, INC.              BERND BRUNS                         CARL KAUB
4300 S STATION MASTER DR             KURT SCHUMACHER-ST. 43              8557 ASPECT DR
TUCSON, AZ 85714                     SPYER 67346                         SAN DIEGO, CA 92108
                                     GERMANY


ACHILLES AIR CONDITIONING            BERND BRUNS                         CBIZ BENEFITS
1400 CHERRYBELL STRAVENUE            KURT SCHUMACHER-ST. 43              PO BOX 632886
TUCSON, AZ 85713                     SPEYER 67346                        CINCINNATI, OH 45623-2886
                                     GERMANY


AGILENT TECHNOLOGIES                 BIOTIUM, INC.                       CHARLES RIVER LABORATORIESIN
PO BOX 742108                        3159 CORPORATE PLACE                251 BALLARDVALE STREET
LOS ANGELES, CA 90074-2108           HAYWARD, CA 94545                   WILMINGTON, MA 01887




AIRGAS DRY ICE                       BRIAN B TUCH                        CHRISTINA CARRUTHERS
PO BOX 951873                        148 TRINITY ROAD                    787 ADAMS RD
DALLAS, TX 75395-1873                BRISBANE, CA 94005                  DRYDEN, NY 13053




ALPHAGRAPHICS                        BRIAN MCEVILLY                      CINTAS CORP - FIRST AID
2500 N COYOTE DRIVE                  4632 TELESCOPE AVE                  PO BOX 631025
SUITE 110                            CARLSBAD, CA 92008                  CINCINNATI, OH 45263-1025
TUCSON, AZ 85745


ARAMARK REFRESHMENT SVCS             BRIAN MCEVILLY                      CINTAS CORP LOC 445
PO BOX 734677                        4632 TELESCOPE AVENUE               2201 N FORBES BLVD
DALLAS, TX 75373-4877                CARLSBAD, CA 92008                  TUCSON, AZ 85745




ARIZONA DEPARTMENT OF REVENUE BRIGHTVIEW LANDSCAPE SERVICE               CINTAS FIRE PROTECTION
1600 W MONROE ST, 7TH FLOOR   PO BOX 31001-2463                          PO BOX 536525
PHOENIX, AZ 85007             PASADENA, CA 91110-2463                    CINCINNATI, OH 45263-6525
CITY OF TUCSON
                     Case 23-10732-JKS  Doc 1 Filed 06/05/23
                                   DONNELLEY FINANCIAL, LLC
                                                                Page 14 of 17
                                                                     HD BIOSCIENCES
PO BOX 51040                      PO BOX 842282                      29666 NEWORK PL
LOS ANGELES, CA 90051-5340        BOSTON, MA 02284-2282              CHICAGO, IL 60673




COOLEY GODWARD KRONISH            FEDEX                              HTG FRANCE
3 EMBARCADERO CENTER              PO BOX 7221                        C/O ORCOM
20TH FLOOR                        PASADENA, CA 91109-7321            101-109 RUE JEAN JAURES
SAN FRANCISCO, CA 94111-4004                                         92300 LEVALLOIS PERRET
                                                                     FRANCE

CORDANCE OPERATIONS               FEDEX TRADE NETWORKS               ILLUMINA, INC.
16 W MARTIN STREEET               PO BOX 842206                      12864 COLLECTION CENTER D
RALEIGH, NC 27601                 BOSTON, MA 02284-2206              CHICAGO, IL 60693-0128




CORPORATION SERVICE COMPANY       FILTROUS INC.                      IN POSITION TECHNOLOGIES LL
8825 N 23RD AVE                   12150 FLINT PL                     7403 W BOSTON ST
SUITE 100                         POWAY, CA 92064                    CHANDLER, AZ 85226
PHOENIX, AZ 85021


COX COMMUNICATIONS                FISHER SCIENTIFIC CO.              INTEGRATED DNA TECHNOLOGIE
PO BOX 53249                      13551 COLLECTIONS CENTER DR        PO BOX 74007330
PHOENIX, AZ 85072-3249            CHICAGO, IL 60693                  CHICAGO, IL 60674-7330




CSA AMERICA TESTING               GARY A PAVELICH                    INTERNAL REVENUE SERVICE
BANK OF AMERICA LOCKBOX SERV      GAP JANITORIAL                     CENTRALIZED INSOLVENCY OPER
PO BOX 74007292                   6530 S SLATE MOUNTAIN DR           PO BOX 7346
CHICAGO, IL 60674-7292            TUCSON, AZ 85748                   PHILADELPHIA, PA 19101-7314


CULLIGAN                          GENERAL AIR CONTROL, INC.          IRON MOUNTAIN
DEPT 8973                         6350 N CAMINO DE LA TIERRA         PPO BOX 601002
PO BOX 77043                      TUCSON, AZ 85741                   PASADENA, CA 91189-1002
MINNEAPOLIS, MN 55480-7743


DELL COMPUTERS                    GLOBAL O-RING & SEAL               JAMES LAFRANCE
PO BOX 6547                       PO BOX 4493 MSC#900                10 YORKSHIRE CT
CAROL STREAM, IL 60197-6547       HOUSTON, TX 77210-4493             FARMINGTON, CT 06032




DELL MARKETING LP                 GODAT DESIGN                       JOHN LUBNIEWSKI
C/O DELL USA LP                   101 W SIMPSON ST                   1692 W PETUNIA PL
PO BOX 802816                     TUCSON, AZ 85701-2268              TUCSON, AZ 85737
CHICAGO, IL 60680-2816


DIGITAL MEDIA INNOVATIONS, LLC HARRY GEORGE                          JUSTEM RECHTSANWALTE
C/O WEST TECHNOLOGY GROUP, LLC 6145 MINA VISTA                       NEUE MAINZER STR. 26
PO BOX 74007143                TUCSON, AZ 85718                      FRANKFURT AM MAIN 60311
CHICAGO, IL 60674-7143                                               GERMANY
KBC BANK N.V.
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                                  MARYAM RASTEGAR
                                                              Page 15 of 17
                                                                   NEW ENGLAND BIOLABS
SUCCURSALE FRANCAISE             LUDWIGSTRAÃŸE 2                  PO BOX 3933
CS 400041                        EGGENSTEIN-LEOPOLDSH 76344       BOSTON, MA 02241-3933
59030 LILLE CEDEX                GERMANY
FRANCE

KRISTA JACOBSON                  MCA FINANCIAL                    NUVOGEN RESEARCH, LLC
4219 E 2NMD ST                   4909 N 44TH ST                   ATTN: RICHARD KRIS
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                                                                  TUCSON, AZ 85728


KYM JAMES                        MCMASTER-CARR                    ODP BUSINESS SOLUTIONS, LLC
9915 N SAND DOLLAR CT            PO BOX 7690                      PO BOX 88040
TUCSON, AZ 85743                 CHICAGO, IL 60680-7690           CHICAGO, IL 60680-1040




LAURA DANKER                     METTLER-TOLEDO RAININ, LLC       PACIFIC OFFICE AUTOMATION
5424 N SUNDOWN DR                27006 NETWORK PLACE              PO BOX 41602
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LAURA GODLEWSKI                  MICHAEL JONES                    PEGASUS PROPERTIES
11323 N EAGLE LANDING PL         2711 N KIVA PL                   PO BOX 231333
ORO VALLEY, AZ 85737             TUCSON, AZ 85715                 ENCINITAS, CA 92023




LIFE TECHNOLOGIES - INVITROG     MICROSOFT CORPORATION            PROSTAR ARIZONA INC.
12088 COLLECTIONS CENTER DR      PO BOX 842103                    DBA PARKS COFFEE
CHICAGO, IL 60693                DALLAS, TX 75284-2103            PO BOX 113000
                                                                  CARROLLTON, TX 75011-3000


LIFESCI ADVISORS LLC             MOVIANTO NEDERLAND B.V.          PRUDENTIAL OVERALL SUPPLY
250 W 55TH ST, 34TH FLOOR        KELTENWEG 70                     4240 S FREMONT AVE
NEW YORK, NY 10019               OSS 5342 LP                      TUCSON, AZ 85714
                                 NETHERLANDS


LINGLING AN                      NANOSYN INC.                     ROBERT SPITALE
6290 N CAMINO KATRINA            3100 CENTRAL EXPRESSWAY          11 KAHLO COURT
TUCSON, AZ 85718                 SANTA CLARA, CA 95051            IRVINE, CA 92617




LOFTIN EQUIPMENT CO              NASDAQ CORPORATE SOLUTIONS       ROCHE DIAGNOSTICS CORP.
PO BOX 641055                    PO BOX 780700                    MAIL CODE 5508
DALLAS, TX 75264-1055            PHILADELPHIA, PA 19178-0700      PO BOX 71209
                                                                  CHARLOTTE, NC 28272-1209


MARYAM RASTEGAR                  NEIL PRICE CONSULTING            SCALAR GROUP, INC.
LUDWIGSTRAA YE 2                 22623 42ND DR SE                 PO BOX 1031
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GERMANY
                      Case 23-10732-JKS   Doc 1   Filed 06/05/23
SECURITIES EXCHANGE COMMISSION THE TARGETING GROUP LTD.
                                                                   Page 16 of 17
                                                                        VAT-ASSIST B.V.
100 F STREET, NE               40B HEATH STREET                         RIVIUM PROMENADE 200
WASHINGTON, DC 20549           LONDON NW3 6TE                           PO BOX 23540
                               UNITED KINGDOM                           ROTTERDAM 3001 KM
                                                                        NETHERLANDS

SELINA GAERTNER                    THOMAS SCIENTIFIC                    VERIZON WIRELESS
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GERMANY


SELINA GAERTNER                    TRAVELERS                            VISTRA INTERNATIONAL EXPANS
AUWALDSTRASSE 1                    CL REMITTANCE CENTER                 HIGHLANDS HOUSE
FREIBURG 7910                      PO BOX 660317                        READING
GERMANY                            DALLAS, TX 75266-0317                BERKSHIRE RG7 1NT
                                                                        UNITED KINGDOM

SHAUN MCMEANS                      TRULY NOLEN                          VWR
1465 E RAM CANYON DR               3620 E SPEEDWAY BLVD                 PO BOX 640169
ORO VALLEY, AZ 85737               SUITE 201                            PITTSBURGH, PA 15264-0166
                                   TUCSON, AZ 85716-4018


SIGMA-ALDRICH, INC.                TRUMPCARD FREIGHT                    WASTE MANAGEMENT OF ARIZO
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CHICAGO, IL 60673-4283             SUITE 200                            PASADENA, CA 91109-7400
                                   LAGUNA NIGUEL, CA 92677


SILICON VALLEY BANK                TUCSON CALIBRATION SERVICES          WILLIAM ROCHE
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SANTA CLARA, CA 95054              SUITE 119                            TUCSON, AZ 85704
                                   TUCSON, AZ 85719


SOUTHWEST METROLOGY                TUCSON ELECTRIC POWER                WILLIAMSMARSTON LLC
1550 W WETMORE ROAD #250           PO BOX 5171                          800 BOYLSTON ST, 16TH FLOOR
TUCSON, AZ 85705                   HARLAN, IA 51593-0671                BOSTON, MA 02199




STEPHEN BARAT                      TUCSON PATHOLOGY ASSOCIATES          WUXI APP TEC (HONGKONG) LT
4 INDIA BROOK DR                   7350 E SPEEDWAY BLVD                 UNIT C, 20/F OFFICEPLUS @ MOK
MENDHAM, NJ 07945                  SUITE 101                            NO. 998 CANTON RD
                                   TUCSON, AZ 85710                     KOWLOON 999077
                                                                        HONG KONG

TEAM BUILDERS PLUS                 ULINE                                YURI MOROZ
112 A CENTRE BLVD                  PO BOX 88741                         18/16 SARATOVSKA ST
MARLTON, NJ 08053                  CHICAGO, IL 60680-1741               APT. 40
                                                                        KYIV 03190
                                                                        UKRAINE

TEKNOVA                            US BANK
2451 BERT DR                       200 S 6TH ST / EP-MN-L 18B
HOLLISTER, CA 95023                MINNEAPOLIS, MN 55402
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                                           United States Bankruptcy Court
                                                    District of Delaware
 In re   HTG Molecular Diagnostics, Inc.                                               Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for HTG Molecular Diagnostics, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 5, 2023                                     /s/ Frederick B. Rosner
Date                                             Frederick B. Rosner
                                                 Signature of Attorney or Litigant
                                                 Counsel for HTG Molecular Diagnostics, Inc.
                                                 The Rosner Law Group, LLC
                                                 824 N Market St
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